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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
   IN RE:
   Javette L. Stone                                       Chapter 13
   Lance E. Stone                         Debtors
                                                          Case No. 18-14682 JKF
   WELLS FARGO BANK, N.A.
                                         Movant
          v.
   Javette L. Stone
   Lance E. Stone
   and William Miller, Esquire           Respondents

                    MOTION FOR RELIEF FROM THE AUTOMATIC STAY
            WELLS FARGO BANK, N.A. (“Movant”) hereby moves this court, pursuant to 11 U.S.C. § 362, for
  relief from the automatic stay with respect to certain real property of the Debtors having an address of 21 East
  Elbon Road, Brookhaven, PA 19015 (the “Property), for all purposes allowed by the Note (defined below),
  the Mortgage (defined below), and applicable law, including but not limited to the right to foreclose. In further
  support of this Motion, Movant respectfully states:
  1.        A petition under Chapter 13 of the United States Bankruptcy Code was filed with respect to the
          Debtors on 7/16/2018.
  2.      A hearing to consider confirmation of the Chapter 13 Plan of the Debtor(s) is scheduled for
          12/19/2018.
  3.      The Debtors have executed and delivered or are otherwise obligated with respect to that certain
          promissory note in the original principal amount of $97,465.00 (the “Note”). A copy of the Note is
          attached hereto as EXHIBIT A. Movant is an entity entitled to enforce the Note.
  4.      Pursuant to that certain Mortgage dated 3/28/2012, and recorded in the office of the county clerk of
          Delaware County, Pennsylvania, (the “Mortgage”) all obligations (collectively, the “Obligations”) of
          the Debtors under and with respect to the Note and the Mortgage are secured by the Property. A copy
          of the Mortgage is attached hereto as EXHIBIT B.
  5.      All rights and remedies under the Mortgage have been assigned to the Movant pursuant to an
          assignment of mortgage. A copy of the Assignment of Mortgage is attached hereto as EXHIBIT C.
  6.      Attached here as EXHIBIT D is a copy of the Loan Modification which was recorded 10/12/2017.
  7.      Wells Fargo Bank, N.A. services the loan on the Property referenced in this Motion. In the event the
          automatic stay in this case is modified, this case dismisses, and/or the Debtors obtain a discharge and
          a foreclosure action is commenced on the mortgaged property, the foreclosure will be conducted in
          the name of Movant. Debtors executed a promissory note secured by a mortgage or deed of trust. The
          promissory note is either made payable to Creditor or has been duly indorsed. Creditor, directly or
          through an agent, has possession of the promissory note. Creditor is the original mortgagee or the
          beneficiary or assignee of the mortgage or deed of trust.
  8.      As of 10/26/2018, the outstanding amount of the Obligations less any partial payments or suspense
          balance is $121,288.63.
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  9.             The following chart sets forth the number and amount of post-petition payments due pursuant to
                 the terms of the Note that have been missed by the Debtors as of 10/26/2018.
             # of Missed Pymts       From:                 To:                   Monthly Pymt Amt      Total Missed Pymts:

             3                       8/1/2018              10/1/2018             $1,179.87             $3,539.61

             Less Post-Petition Partial Payments (Suspense Balance):                                   ($0.00)

             TOTAL:                                                                                    $3,539.61

  10.            As of 10/26/2018, the total post-petition arrearage/delinquency is $3,539.61.
  11.            The estimated market value of the property is $146,300.00. The basis for such valuation is
                 Debtors’ Schedule A/B, which is attached hereto as EXHIBIT E. The debtor claimed exemption
                 in Schedule C on the property in the amount of $32,898.78.
  12.            Upon information and belief, the encumbrances on the property listed in the schedules or
                 otherwise known, including but not limited to the encumbrances granted to Movant, listed in
                 order of priority are: (I) Movant ($121,288.63). There is no or inconsequential equity in the
                 property.
  13.            The amount of the next monthly payment of the Debtors under the terms of the Note and
                 Mortgage is $1,179.87 and will come due on 11/1/2018.
  14.            Cause exists for relief from the automatic stay for the following reasons:
                 a. Movant’s interest in the property is not adequately protected.
                 b. Post confirmation payments required by the confirmed plan or proposed plan have not been
                    made to Movant.
                 c. Pursuant to 11 U.S.C. § 362(d)(2)(A), Debtors have no equity in the Property; and pursuant
                    to § 362(d)(2)(B), the Property is not necessary for an effective reorganization.
        WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the stay and
        granting the following:
        1.       Relief from the stay for all purposes allowed by the Note, the Mortgage, and applicable law, including but
                 not limited to allowing Movant (and any successors or assigns) to proceed under applicable non-bankruptcy
                 law to enforce its remedies to foreclose upon and obtain possession of the property.
        2.       That the Order be binding and effective despite any conversion of this bankruptcy case to a case under any
                 other chapter of Title 11 of the United States Code.
        3.       That the 14 Day Stay described by Bankruptcy Rule 4001(a)(3) be waived.
        4.       For such other relief as the Court deems proper.
        5.       Movant further requests that upon entry of an order granting relief from stay, it be exempted from further
                 compliance with Fed. Rule Bankr. P. 3002.1 in the instant bankruptcy case.


  November 7, 2018                                                     /s/ Amanda L. Rauer, Esquire
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